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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

  IN RE: KATRINA CANAL BREACHES                              *       CIVIL ACTION
  CONSOLIDATED LITIGATION
  ___________________________________________                *      NUMBER: 05-4182

  LEVEE CASES                                                *       SECTION: “K” (2)
  PERTAINS TO:        06-4931
  (Emma Brock, et al)                                        *       JUDGE DUVAL

                                                  *     MAG. WILKINSON
  ______________________________________________________________________________
                                     ORDER

         Considering the foregoing motion by petitioners in the above captioned matter for leave to

  file their First Supplemental and Amending Complaint,

         IT IS HEREBY ORDERED that plaintiffs are granted leave to file their Second

  Supplemental and Amending Complaint and that such Complaint be filed into the record.

         NEW ORLEANS, LOUISIANA, this ________ day of _________________, 2007.


                                              _______________________________________
                                              JUDGE, UNITED STATES DISTRICT COURT
